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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

CHONG SOH                                       *
                                                 *
             v.                                  *           Civil No. CCB-17-1544
                                                 *
NATIONAL ENTERPRISE SYSTEMS                     *
                                              ******

                                             ORDER


       Defendant National Enterprise Systems, Inc. (“NES”) has filed a motion for judgment on

the pleadings. Plaintiff Chong Soh has not filed a response to the motion, after being advised of

the consequences of a failure to do so. It appears that NES is entitled to dismissal of the action

because Soh has failed to state a claim under the Fair Credit Reporting Act against NES.

Accordingly, it is, this 31st day of October, 2017, ORDERED that:

       1.    defendant’s motion for judgment on the pleadings (ECF No. 9) is Granted;

       2.    this case is Dismissed with prejudice; and

       3. the Clerk shall SEND a copy of this Order to the plaintiff and counsel of record, and

             CLOSE this case.




                                              ____________/S/________________
                                              Catherine C. Blake
                                              United States District Judge
